Case 2:24-cv-04702-MCS-PD Document 76 Filed 07/29/24 Page 1 of 17 Page ID #:1181



1    EDWARD R. REINES (Cal. Bar No. 135960)
     edward.reines@weil.com
2    WEIL, GOTSHAL & MANGES LLP
     201 Redwood Shores Pkwy #400,
3    Redwood City, CA 94065
     Phone:      (650) 802-3000
4    Facsimile: (650) 802-3100
5    Attorney for Amici Curiae
     AGUDATH ISRAEL OF AMERICA
6    and the UNION OF ORTHODOX
     JEWISH CONGREGATIONS OF AMERICA
7

8
                           UNITED STATES DISTRICT COURT
9                         CENTRAL DISTRICT OF CALIFORNIA
10

11   YITZCHOK FRANKEL;                          ) Case No. 2:24-cv-04702-MCS-PD
12
     JOSHUA GHAYOUM; and                        )
     EDEN SHEMUELIAN,                           )
13
                                                )
                                    Plaintiffs, )
14
                                                )
                   vs.                          )
15
                                                )
     REGENTS OF THE UNIVERSITY OF ) BRIEF OF AMICI CURIAE
16
     CALIFORNIA; MICHAEL V. DRAKE, ) AGUDATH ISRAEL OF AMERICA
     President of the University of California; ) AND THE UNION OF ORTHODOX
17
     GENE D. BLOCK, Chancellor, University) JEWISH CONGREGATIONS OF
     of California, Los Angeles; DARNELL ) AMERICA IN SUPPORT OF
18
     HUNT, Executive Vice-President and         ) PLAINTIFFS’ MOTION FOR
     Provost; MICHAEL BECK,                     ) PRELIMINARY INJUNCTION
19
     Administrative Vice Chancellor;            )
     MONROE GORDEN, JR., Vice                   )
20
     Chancellor; and RICK BRAZIEL,              )
     Assistant Vice Chancellor, each in both )
21
     his official and personal capacities,      )
                                                )
22
                                  Defendants. )
                                                )
23
                                                )
                                                )
24

25

26
27

28



     AMICUS BRIEF OF AGUDATH ISRAEL AND THE ORTHODOX UNION - Case No. 2:24-cv-04702-MCS-PD
Case 2:24-cv-04702-MCS-PD Document 76 Filed 07/29/24 Page 2 of 17 Page ID #:1182



1                                                TABLE OF CONTENTS
2                                                                                                                           Page
3    INTEREST OF AMICI CURIAE ...................................................................................... 1
4    ARGUMENT .................................................................................................................... 2
5      I.     Antisemitism at UCLA and Other College Campuses ........................................... 2
6             A. UCLA’s Failures Following October 7 ........................................................... 3
7             B. UCLA Is Paradigmatic, But Far From Alone ................................................. 5

8
              C. Orthodox Jewish Students Are Particularly Likely To Be Targeted............... 9
     CONCLUSION ............................................................................................................... 11
9

10

11

12

13

14

15

16
17

18

19

20

21

22

23

24

25

26
27

28

                                                                   -i-
     AMICUS BRIEF OF AGUDATH ISRAEL AND THE ORTHODOX UNION - Case No. 2:24-cv-04702-MCS-PD
Case 2:24-cv-04702-MCS-PD Document 76 Filed 07/29/24 Page 3 of 17 Page ID #:1183



1                                            TABLE OF AUTHORITIES
2                                                                                                                     Page(s)
3    Cases
     Fellowship of Christian Athletes v. San Jose Unified Sch. Dist. Bd. of
4
        Educ.,
5       82 F.4th 664 (9th Cir. 2023) (en banc) .................................................................2
6    Kennedy v. Bremerton Sch. Dist.,
        597 U.S. 507 (2022) ............................................................................................10
7
     State v. Azar,
8       911 F.3d 558 (9th Cir. 2018) ................................................................................2
9    Other Authorities
     Amir Cohen, At Israeli Rave Site Hit by Hamas, Music Plays Again for the
10
        Dead, REUTERS (Nov. 29, 2023),
11      https://www.reuters.com/world/middle-east/israeli-rave-site-hit-by-
        hamas-music-plays-again-dead-2023-11-29/ .......................................................3
12
     Antisemitism on College Campuses: Incident Tracking from 2019–2024,
13      HILLEL INTERNATIONAL (July 1, 2024),
14      https://www.hillel.org/antisemitism-on-college-campuses-incident-
        tracking-from-2019-
15      2023/#:~:text=1%2C826,increase%20compared%20to%20last%20year............3
16   Audit of Antisemitic Incidents, ADL (Mar. 23, 2023),
17
        https://www.adl.org/audit-antisemitic-incidents...................................................2
     Bret Stephens, To Be (Visibly) Jewish in the Ivy League, N.Y. TIMES (Apr.
18      23, 2024), https://www.nytimes.com/2024/04/23/opinion/university-
19      jewish-antisemitism-ivy.html .............................................................................10
20
     Campus Antisemitism Report Card, ADL, https://www.adl.org/campus-
        antisemitism-report-card (last visited July 24, 2024) ...........................................4
21   Celina Tebor, 3 Jewish Students Sue New York University Over
22      Antisemitism Response, CNN (Nov. 15, 2023),
        https://www.cnn.com/2023/11/15/us/jewish-students-sue-new-york-
23
        university/index.html ............................................................................................8
24   Cornell University President Quits Amid Campus Antisemitism, Gaza
25      Protests, TIMES OF ISRAEL, https://www.timesofisrael.com/cornell-
        university-president-quits-amid-campus-antisemitism-gaza-protests/ .................8
26
     Crime Data Explorer,
27      FBI,
        https://cde.ucr.cjis.gov/LATEST/webapp/#/pages/explorer/crime/hate-
28
        crime (last visited July 16, 2024) ..........................................................................2

                                                                 - ii -
     AMICUS BRIEF OF AGUDATH ISRAEL AND THE ORTHODOX UNION - Case No. 2:24-cv-04702-MCS-PD
Case 2:24-cv-04702-MCS-PD Document 76 Filed 07/29/24 Page 4 of 17 Page ID #:1184



1    Daniel Byman et al., Hamas’s October 7 Attack: Visualizing the Data,
2       CSIS (Dec. 19, 2023), https://www.csis.org/analysis/hamass-october-7-
        attack-visualizing-data. .........................................................................................3
3
     Hannah Cree, Law Enforcement Storms Encampment on University of
4       Arizona Campus, AZPM (May 1, 2024),
        https://news.azpm.org/p/azpmnews/2024/5/1/220108-law-enforcement-
5
        storms-encampment-on-university-of-arizona-campus/ .......................................9
6    How Columbia University Became the Driving Force Behind US Protests
7       Over the War in Gaza, NBC (May 1, 2024),
        https://www.nbcnewyork.com/news/local/protests-today-nyc-columbia-
8       gaza-timeline/5372239/.........................................................................................6
9    Jamiel Lynch & Carolyn Sung, Two Students Claim the University of
        Pennsylvania Has Violated the Civil Rights Act by not Protecting
10
        Jewish Students from Antisemitism on Campus, CNN (Dec. 8, 2023),
11      https://www.cnn.com/2023/12/08/business/students-claim-university-
        of-pennsylvania-civil-rights-antisemitism-on-campus/index.html.....................10
12
     Jay Ulfelder, Crowd Counting Consortium: An Empirical Overview of
13      Recent Pro-Palestine Protests at U.S. Schools, Harvard (May 30,
14      2024), https://ash.harvard.edu/articles/crowd-counting-blog-an-
        empirical-overview-of-recent-pro-palestine-protests-at-u-s-schools/ ..................5
15
     Jewish Americans in 2020, PEW (May 11, 2021),
16      https://www.pewresearch.org/religion/2021/05/11/jewish-americans-in-
17
        2020/......................................................................................................................3
     Jewish Students Sue Harvard Over Charges of Antisemitism, The
18      GUARDIAN (Jan. 12, 2024),
19      https://www.theguardian.com/education/2024/jan/12/harvard-lawsuit-
        jewish-students-
20      antisemitism#:~:text=Several%20Jewish%20students%20have%20filed
21      ,%2DJewish%20hatred%20and%20harassment%E2%80%9D ...........................7
22   Katrina Ventura, Here’s a Timeline of Columbia’s 14-Day Gaza Solidarity
        Encampment, COLUMBIA JOURNALISM SCH. (May 3, 2024),
23      https://columbianewsservice.com/2024/05/03/protest/ ........................................6
24   Larry Diamond et al., “It’s in the Air”: Antisemitism and Anti-Israeli Bias
        at Stanford, and How to Address It, STANFORD (May 31, 2024),
25
        https://news.stanford.edu/__data/assets/pdf_file/0033/156588/ASAIB-
26      final-report.pdf ......................................................................................................8
27

28
                                                                      - iii -
     AMICUS BRIEF OF AGUDATH ISRAEL AND THE ORTHODOX UNION - Case No. 2:24-cv-04702-MCS-PD
     WEIL:\99848520\1\99910.I800
Case 2:24-cv-04702-MCS-PD Document 76 Filed 07/29/24 Page 5 of 17 Page ID #:1185



1    Laruen Sofrza, Antisemitism Surging Worldwide Since Oct. 7 Attack:
2       Report, THE HILL (May 6, 2024), https://thehill.com/blogs/blog-
        briefing-room/4646435-antisemitism-surging-worldwide-since-october-
3       7-attack-report/ ......................................................................................................3
4    Legal Claims Against Harvard University, BRANDEIS CENTER,
        https://brandeiscenter.com/legal-claims-against-harvard-university/
5
        (last visited July 22, 2024) ....................................................................................7
6    Lexi Lonas, Columbia Protest Leader: ‘Be grateful that I’m not just going
7       out and murdering Zionists’, THE HILL (Apr. 26, 2024) ......................................6
     Luis Ferré-Sadurní et al., Some Jewish Students Are Targeted as Protests
8
        Continue at Columbia, N.Y. TIMES (Apr. 21, 2024) ............................................6
9    Michelle Amponsah, Jewish Students Sue Harvard University, Allege
10      ‘Severe’ Antisemitism on Campus, THE CRIMSON (Jan. 12, 2024),
        https://www.thecrimson.com/article/2024/1/12/harvard-lawsuit-
11      campus-antisemitism/ ...........................................................................................7
12   More Than One-Third of Jewish College Students Are Forced to Hide
        Their Jewish Identity, New Hillel Poll Finds, HILLEL INTERNATIONAL
13
        (Nov. 20, 2023), https://www.hillel.org/more-than-one-third-of-jewish-
14      college-students-are-hiding-their-jewish-identity-on-campus-new-
15
        hillel-international-poll-finds/ .............................................................................10
     Nadine El-Bawab, How Pro-Palestinian Protests Unfolded on College
16      Campuses Across the US: A Timeline, ABC NEWS (May 4, 2024),
17      https://abcnews.go.com/US/pro-palestinian-protests-unfolded-college-
        campuses-us-timeline/story?id=109902300 .........................................................6
18
     Neal Riley & Louisa Moller, Harvard University Encampment Comes
19      Down, Ending Boston-Area Campus Tent Protests, CBS NEWS (May
20
        14, 2024), https://www.cbsnews.com/boston/news/harvard-yard-
        encampment-ending-student-discipline/ ...............................................................7
21   NYU Settles Lawsuit Filed by 3 Jewish Students Who Complained of
22      Pervasive Antisemitism, AP NEWS (July 9, 2024),
        https://apnews.com/article/nyu-israel-gaza-protests-university-
23
        settlement-d01dfeb589ad95f3007e1fb63d86845a ...............................................8
24   Ramishah Maruf, Columbia University Settles with Jewish Student Who
25      Sued Over Hostile Environment on Campus, CNN (June 4, 2024),
        https://www.cnn.com/2024/06/04/business/columbia-university-settles-
26      jewish-student-hostile-environment-on-campus/index.html ................................6
27   Rebecca Rosenber, NYU Student Admits Tearing Down Israeli Hostage
        Posters, Blames ‘Misplaced Anger’, Fox News (Oct. 18, 2023)..........................7
28
                                                                    - iv -
     AMICUS BRIEF OF AGUDATH ISRAEL AND THE ORTHODOX UNION - Case No. 2:24-cv-04702-MCS-PD
     WEIL:\99848520\1\99910.I800
Case 2:24-cv-04702-MCS-PD Document 76 Filed 07/29/24 Page 6 of 17 Page ID #:1186



1    Robin Hattersley, UPDATE: OCR Announces Resolution Agreement with
2       Lafayette College for Title VI Violations During Israel-Palestine
        Protests, CAMPUS SAFETY (June 25, 2024),
3       https://www.campussafetymagazine.com/news/ocr-finds-university-of-
4       michigan-cuny-didnt-follow-title-vi-when-responding-to-harassment-
        of-jewish-and-muslim-students/159001/ ..............................................................5
5
     S.E. Jenkins, Protest Encampment Forcibly Dismantled, Arrests Made at
6       UT Austin, CBS NEWS (Apr. 30, 2024),
        https://www.cbsnews.com/texas/news/encampments-forcibly-
7
        dismantled-arrests-made-at-ut-austin/ ..................................................................8
8    Saidel et al., Hamas Took More Than 200 Hostages From Israel. Here’s
9       What We Know, WSJ (July 22, 2024),
        https://www.wsj.com/world/middle-east/hamas-hostages-israel-gaza-
10      41432124 ...............................................................................................................3
11   Talia Khan’s Congressional Testimony,
        https://www.congress.gov/118/meeting/house/116625/documents/HHR
12
        G-118-ED00-20231205-SD003.pdf ...................................................................11
13   Tzitzit, Merriam-Webster, www.merriam-webster.com/dictionary/tzitzit
14      (last visited July 22, 2024) ..................................................................................10
15
     University of Texas at Austin Statement Regarding Today’s Protest Events,
        UT NEWS (Apr. 29, 2024),
16      https://news.utexas.edu/2024/04/29/university-of-texas-at-austin-
17
        statement-regarding-todays-protest-events/ ..........................................................9

18

19

20

21

22

23

24

25

26
27

28
                                                                     -v-
     AMICUS BRIEF OF AGUDATH ISRAEL AND THE ORTHODOX UNION - Case No. 2:24-cv-04702-MCS-PD
     WEIL:\99848520\1\99910.I800
Case 2:24-cv-04702-MCS-PD Document 76 Filed 07/29/24 Page 7 of 17 Page ID #:1187



                                INTEREST OF AMICI CURIAE
  1
             Agudath Israel of America is a 102-year-old nonprofit Orthodox Jewish
  2
      umbrella organization. Agudath Israel’s headquarters are located in New York City,
  3
      and it serves over 30 states, including California, with its network of regional and
  4
      state offices, affiliated synagogues, summer camps, special education, youth services,
  5
      and religious study programs. Agudath Israel regularly intervenes at all levels of
  6
      government—including through the submission of, or participation in, amicus curiae
  7
      briefs—to advocate and protect the interests of the Orthodox Jewish community in
  8
      the United States.
  9
             The Union of Orthodox Jewish Congregations of America (“Orthodox Union”)
 10
      is the nation’s largest Orthodox Jewish umbrella organization, representing nearly
 11
      1,000 congregations across the United States. The Orthodox Union, through its OU
 12
      Advocacy Center, has participated as amicus curiae in many cases that raise issues of
 13
      importance to the Orthodox Jewish community. The Orthodox Union also has a
 14
      presence on the UCLA campus, through its Jewish Learning Initiative on Campus
 15
      program, which serves and supports Jewish students.
 16
             Amici have a strong interest in ensuring that Jewish students have equal access
 17
      to education, and that Jewish students do not face harassment and threats because of
 18
      their faith. The outbreak of antisemitic incidents on university campuses nationwide
 19
      sharply undercut that interest. At UCLA and many other universities, Jewish students
 20
      were physically prevented from accessing significant portions of the campus because
 21
      of their faith and support for Israel. Orthodox Jewish students were also
 22
      disproportionately targets of harassment and intimidation because of their religious
 23
      dress, and UCLA’s policies impeded Orthodox Jewish students from practicing their
 24
      faith by wearing religious garb. Amici therefore have a strong interest in ensuring that
 25
      UCLA prevents the formation of yet another round of encampments, and the
 26
 27

 28

      AMICUS BRIEF OF AGUDATH ISRAEL AND THE ORTHODOX UNION - Case No. 2:24-cv-04702-MCS-PD
Case 2:24-cv-04702-MCS-PD Document 76 Filed 07/29/24 Page 8 of 17 Page ID #:1188



  1   accompanying exclusion, harassment, and intimidation of Jewish students, when school
  2   starts up again in the fall.1
  3                                         ARGUMENT
  4          Amici urge that Plaintiffs satisfy all four of the preliminary injunction factors: (1)
  5   they have Article III standing and are likely to succeed on the merits; (2) they will suffer
  6   irreparable harm absent injunctive relief; (3) the balance of the equities favors relief;
  7   and (4) an injunction supports the public interest. See Fellowship of Christian Athletes
  8   v. San Jose Unified Sch. Dist. Bd. of Educ., 82 F.4th 664, 683 (9th Cir. 2023) (en banc).
  9   Amici write to put this litigation into the broader context of increased antisemitism on
 10   college campuses, and to emphasize the public interest in ensuring that Jewish students
 11   have full and equal access to education and are not harassed on the basis of their
 12   religious beliefs or dress. “Protecting religious liberty and conscience is obviously in
 13   the public interest.” State v. Azar, 911 F.3d 558, 582 (9th Cir. 2018).
 14   I.     ANTISEMITISM AT UCLA AND OTHER COLLEGE CAMPUSES
 15          Even before the October 7 terrorist attack, antisemitic incidents were on the rise
 16   in the United States. In 2022, the FBI reported 1,124 hate crimes against Jews—a 36%
 17   increase over 2021, and the highest number recorded since 1993.2 Beyond hate crimes,
 18   the Anti-Defamation League (“ADL”) has reported that antisemitic incidents have been
 19   on the rise since 2013. In 2022, ADL reported 3,697 antisemitic incidents, nearly five
 20   times more than in 2013.3 According to a Pew survey, more than half of American Jews
 21

 22

 23
      1
 24     Counsel for amici states that no counsel for a party authored this brief in whole or in
      part, and no person or entity other than amici or their counsel made a monetary
 25   contribution to this brief’s preparation or submission.
      2
 26     See Crime Data Explorer, FBI,
      https://cde.ucr.cjis.gov/LATEST/webapp/#/pages/explorer/crime/hate-crime (last
 27   visited July 16, 2024).
      3
 28     See Audit of Antisemitic Incidents, ADL (Mar. 23, 2023), https://www.adl.org/audit-
      antisemitic-incidents.
                                                   2
      AMICUS BRIEF OF AGUDATH ISRAEL AND THE ORTHODOX UNION - Case No. 2:24-cv-04702-MCS-PD
Case 2:24-cv-04702-MCS-PD Document 76 Filed 07/29/24 Page 9 of 17 Page ID #:1189



  1   felt less safe in 2020 than they did five years earlier (53%), while a tiny minority (3%)
  2   felt things were getting better.4
  3          On October 7, 2023, Hamas committed the deadliest attack on Israel and its
  4   citizens since Israel was established in 1948.5 Hamas terrorists murdered more than
  5   1,200 people in the attack.6 At the Nova music festival alone, hundreds of civilians were
  6   “shot, bludgeoned or burned to death” and dozens were taken hostage.7 The attack
  7   sparked the ongoing Israel-Hamas conflict—and a new wave of antisemitic incidents in
  8   the United States.8 According to a Hillel International report, the number of reported
  9   antisemitic incidents on college campuses increased by 700% after October 7 compared
 10   to the year earlier.9
 11          A.     UCLA’s Failures Following October 7
 12          The allegations in the complaint make clear that the conduct at issue in this case
 13   goes far beyond protected First Amendment speech. Rather, the complaint puts into
 14   sharp focus UCLA’s failure to ensure that Jewish students enjoy full and equal access
 15   to education.
 16
 17
      4
        Jewish Americans in 2020, PEW (May 11, 2021),
 18   https://www.pewresearch.org/religion/2021/05/11/jewish-americans-in-2020/.
      5
 19     Daniel Byman et al., Hamas’s October 7 Attack: Visualizing the Data, CSIS (Dec.
      19, 2023), https://www.csis.org/analysis/hamass-october-7-attack-visualizing-data.
 20   6
        Saidel et al., Hamas Took More Than 200 Hostages From Israel. Here’s What We
 21   Know, WSJ (July 22, 2024), https://www.wsj.com/world/middle-east/hamas-hostages-
      israel-gaza-41432124.
 22   7
        Amir Cohen, At Israeli Rave Site Hit by Hamas, Music Plays Again for the Dead,
 23   REUTERS (Nov. 29, 2023), https://www.reuters.com/world/middle-east/israeli-rave-
 24   site-hit-by-hamas-music-plays-again-dead-2023-11-29/.
      8
        Laruen Sofrza, Antisemitism Surging Worldwide Since Oct. 7 Attack: Report, THE
 25   HILL (May 6, 2024), https://thehill.com/blogs/blog-briefing-room/4646435-
 26   antisemitism-surging-worldwide-since-october-7-attack-report/.
      9
        See Antisemitism on College Campuses: Incident Tracking from 2019–2024, HILLEL
 27
      INTERNATIONAL (July 23, 2024), https://www.hillel.org/antisemitism-on-college-
 28   campuses-incident-tracking-from-2019-
      2023/#:~:text=1%2C826,increase%20compared%20to%20last%20year.
                                                  3
      AMICUS BRIEF OF AGUDATH ISRAEL AND THE ORTHODOX UNION - Case No. 2:24-cv-04702-MCS-PD
Case 2:24-cv-04702-MCS-PD Document 76 Filed 07/29/24 Page 10 of 17 Page ID #:1190



  1         First, the allegations in the complaint show that political protests quickly
  2   escalated into harassment, threats, and open calls for violence. Days after the attack,
  3   demonstrators chanted “slaughter the Jews” in Arabic at the center of UCLA’s campus.
  4   Compl. ¶ 58. A book with a swastika on the cover and a piece of paper entitled
  5   “Loudmouth Jew” were placed outside of a UCLA faculty member’s home. Id. ¶ 61.
  6   Meanwhile, a student group chanted “beat that fucking Jew” while bashing a piñata
  7   with a picture of the Israeli Prime Minister. Shemuelian Decl. ¶ 40. And agitators tore
  8   down posters of hostages kidnapped and tortured on October 7. Ghayoum Decl. ¶ 22.
  9   Indeed, Chancellor Gene Block herself acknowledged the “disturbing rise of
 10   antisemitism” on UCLA’s campus. Compl. ¶ 56. On ADL’s “Antisemitism Report
 11   Card,” UCLA received an “F.”10
 12         Second, the allegations in the complaint show that UCLA allowed protesters to
 13   exclude Jewish students from the heart of the campus. On April 25, 2024, protesters
 14   established an unauthorized physical encampment in the middle of UCLA’s campus.
 15   Id. ¶ 88. Activists in the encampment chanted threats like “death to Jews” and “death
 16   to Israel.” Ghayoum Decl. ¶ 29. The chants were accompanied by antisemitic symbols
 17   like swastikas, pigs, and inverted red triangles (commonly used by Hamas to denote
 18   Jewish targets). Compl. ¶¶ 97–100. The activists reinforced the encampment with
 19   barricades, which could only be passed by condemning Israel. Id. ¶ 109. The
 20   encampment thus excluded from key parts of campus the plaintiffs and any other Jewish
 21   person with a religious obligation to support Israel and its right to exist, in violation of
 22   the Free Exercise Clause and other constitutional rights. See Frankel Decl. ¶¶ 9–13;
 23   Ghayoum Decl. ¶ 11; Shemuelian ¶¶ 11, 28.
 24         Notably, UCLA did not respond by taking immediate action to enforce basic
 25   time, place, and manner rules to ensure that all students, including Jewish students, had
 26   full and equal access to campus. Instead, it attempted to “de-escalate the situation by
 27
      10
 28     Campus Antisemitism Report Card, ADL, https://www.adl.org/campus-
      antisemitism-report-card (last visited July 24, 2024).
                                                   4
      AMICUS BRIEF OF AGUDATH ISRAEL AND THE ORTHODOX UNION - Case No. 2:24-cv-04702-MCS-PD
Case 2:24-cv-04702-MCS-PD Document 76 Filed 07/29/24 Page 11 of 17 Page ID #:1191



  1   allowing the protest to continue, while attempting to confine its footprint.” UCLA Mem.
  2   15. That passivity prolonged the exclusion of Jews, and ultimately failed: UCLA
  3   eventually sought law enforcement assistance to clear the encampment. See id.
  4         Perhaps UCLA’s decision could be defended at first. But UCLA did the same
  5   thing again and again and, each time, the policy led to a similar result: After the first
  6   encampment was cleared, another encampment sprung up on May 23, and then yet
  7   another on June 10. Shemuelian Ex. 25; Rassbach Exs. 20–21. Each time, UCLA’s
  8   purported “de-escalation” policy prolonged the exclusion of Jewish students. See
  9   Braziel Ex. 2 at 47. As Plaintiffs persuasively argue, only an injunction will prevent a
 10   repeat when school resumes in the fall.
 11         B.     UCLA Is Paradigmatic, But Far From Alone
 12         Amici urge that UCLA’s failures are emblematic of a broader problem at many
 13   universities, whose passivity in the face of antisemitic encampments deprived Jewish
 14   students, and especially Orthodox Jewish students, of full and equal access to
 15   educational opportunities on college campuses.
 16         The Crowd Counting Consortium at Harvard University’s Ash Center for
 17   Democratic Governance and Innovation found that protests had turned into
 18   encampments at more than 130 schools.11 Encampments were particularly prevalent at
 19   prestigious universities, including Harvard, Columbia, Stanford, Yale, Penn,
 20   Dartmouth, Princeton, Cornell, Vanderbilt, Brown, Michigan, Berkeley, and MIT.12
 21   Many schools have either settled lawsuits or entered into agreements with the Office of
 22   Civil Rights to protect Jewish students going forward, including Michigan, the City
 23   University of New York, and Lafayette College.13
 24
      11
         Jay Ulfelder, Crowd Counting Consortium: An Empirical Overview of Recent Pro-
 25   Palestine Protests at U.S. Schools, Harvard (May 30, 2024),
 26   https://ash.harvard.edu/articles/crowd-counting-blog-an-empirical-overview-of-recent-
      pro-palestine-protests-at-u-s-schools/.
 27   12
         Id.
      13
 28      Robin Hattersley, UPDATE: OCR Announces Resolution Agreement with Lafayette
      College for Title VI Violations During Israel-Palestine Protests, CAMPUS SAFETY
                                                  5
      AMICUS BRIEF OF AGUDATH ISRAEL AND THE ORTHODOX UNION - Case No. 2:24-cv-04702-MCS-PD
Case 2:24-cv-04702-MCS-PD Document 76 Filed 07/29/24 Page 12 of 17 Page ID #:1192



  1         Columbia University sparked the trend of encampments nationwide when, on
  2   April 17, students set up barricades on the south lawn, in front of the historic Butler
  3   Library.14 The encampment took over a key space on campus and included threats and
  4   harassment. In one instance, a video captured a protestor holding a sign saying “Al-
  5   Qasam’s Next Targets”—referring to the military wing of Hamas—next to Jewish
  6   counter-protesters.15 In another video, a leader of the encampment at Columbia said
  7   “Zionists don’t deserve to live” and “Be grateful that I’m not just going out and
  8   murdering Zionists.”16 Columbia nonetheless allowed the encampment to continue for
  9   2 weeks before clearing it.17 Like UCLA, Columbia faced a lawsuit, which it settled.18
 10         Harvard was similarly passive in response to widespread harassment, threats, and
 11   discrimination against Jewish students. The day after the attack on October 7, students
 12   groups led by the Palestine Solidarity Committee published a letter saying they held
 13   “the Israeli regime entirely responsible” for the massacre.19 Building occupations and
 14

 15   (June 25, 2024), https://www.campussafetymagazine.com/news/ocr-finds-university-
      of-michigan-cuny-didnt-follow-title-vi-when-responding-to-harassment-of-jewish-
 16   and-muslim-students/159001/.
      14
 17      How Columbia University Became the Driving Force Behind US Protests Over the
      War in Gaza, NBC (May 1, 2024), https://www.nbcnewyork.com/news/local/protests-
 18   today-nyc-columbia-gaza-timeline/5372239/.
      15
 19      Luis Ferré-Sadurní et al., Some Jewish Students Are Targeted as Protests Continue
      at Columbia, N.Y. TIMES (Apr. 21, 2024),
 20
      https://www.nytimes.com/2024/04/21/nyregion/columbia-protests-antisemitism.html.
 21   16
         Lexi Lonas, Columbia Protest Leader: ‘Be grateful that I’m not just going out and
 22   murdering Zionists’, THE HILL (Apr. 26, 2024),
      https://thehill.com/homenews/education/4624467-columbia-university-protests-pro-
 23   palestinian-video-student/.
      17
 24      Katrina Ventura, Here’s a Timeline of Columbia’s 14-Day Gaza Solidarity
      Encampment, COLUMBIA JOURNALISM SCH. (May 3, 2024),
 25   https://columbianewsservice.com/2024/05/03/protest/.
      18
 26      Ramishah Maruf, Columbia University Settles with Jewish Student Who Sued Over
      Hostile Environment on Campus, CNN (June 4, 2024),
 27
      https://www.cnn.com/2024/06/04/business/columbia-university-settles-jewish-
 28   student-hostile-environment-on-campus/index.html.
      19
         Nadine El-Bawab, How Pro-Palestinian Protests Unfolded on College Campuses
                                                  6
      AMICUS BRIEF OF AGUDATH ISRAEL AND THE ORTHODOX UNION - Case No. 2:24-cv-04702-MCS-PD
Case 2:24-cv-04702-MCS-PD Document 76 Filed 07/29/24 Page 13 of 17 Page ID #:1193



  1   widespread discrimination followed.20 On January 10, 2024, Jewish students filed a
  2   lawsuit claiming Harvard had become “a bastion of rampant anti-Jewish hatred and
  3   harassment,” with protesters occupying buildings and “calling for death to Jews and
  4   Israel.”21 In April and early May, an encampment persisted for nearly three weeks.22 On
  5   May 22, the Brandeis Center filed another lawsuit, based on Harvard’s deliberate
  6   indifference to “cruel anti-Semitic bullying, harassment, and discrimination.”23
  7         Jewish students at New York University faced a similar environment. In October
  8   2023, a student at NYU tore down posters of the hostages that had been abducted by
  9   Hamas.24 Pervasive protests and an encampment followed. NYU was sued for its failure
 10   to address this antisemitism, including a student who was assaulted and called a “dirty
 11

 12

 13

 14   Across the US: A Timeline, ABC NEWS (May 4, 2024),
 15   https://abcnews.go.com/US/pro-palestinian-protests-unfolded-college-campuses-us-
      timeline/story?id=109902300.
 16   20
         See Michelle Amponsah, Jewish Students Sue Harvard University, Allege ‘Severe’
 17   Antisemitism on Campus, THE CRIMSON (Jan. 12, 2024),
      https://www.thecrimson.com/article/2024/1/12/harvard-lawsuit-campus-antisemitism/.
 18   21
         Jewish Students Sue Harvard Over Charges of Antisemitism, The GUARDIAN (Jan.
 19   12, 2024), https://www.theguardian.com/education/2024/jan/12/harvard-lawsuit-
      jewish-students-
 20
      antisemitism#:~:text=Several%20Jewish%20students%20have%20filed,%2DJewish%
 21   20hatred%20and%20harassment%E2%80%9D.
      22
 22      Neal Riley & Louisa Moller, Harvard University Encampment Comes Down,
      Ending Boston-Area Campus Tent Protests, CBS NEWS (May 14, 2024),
 23   https://www.cbsnews.com/boston/news/harvard-yard-encampment-ending-student-
 24   discipline/.
      23
         Legal Claims Against Harvard University, BRANDEIS CENTER,
 25   https://brandeiscenter.com/legal-claims-against-harvard-university/ (last visited July
 26   22, 2024).
      24
         Rebecca Rosenber, NYU Student Admits Tearing Down Israeli Hostage Posters,
 27
      Blames ‘Misplaced Anger’, Fox News (Oct. 18, 2023),
 28   https://www.foxnews.com/us/nyu-student-admits-tearing-down-israeli-hostage-
      posters-blames-misplaced-anger.
                                                  7
      AMICUS BRIEF OF AGUDATH ISRAEL AND THE ORTHODOX UNION - Case No. 2:24-cv-04702-MCS-PD
Case 2:24-cv-04702-MCS-PD Document 76 Filed 07/29/24 Page 14 of 17 Page ID #:1194



  1   fucking Jew.”25 In July, NYU entered into a historic settlement, agreeing to combat
  2   discrimination and support Jewish students.26
  3         Stanford University had the longest-running encampment in the country, lasting
  4   120 days.27 During that time, the Jewish Advisory Committee noted many disturbing
  5   incidents, including mezuzahs ripped from doorframes and a swastika drawn on a
  6   Jewish student’s door. Students were intimidated, ostracized, and harassed simply for
  7   identifying as Jewish.28 And, at Cornell, the President recently stepped down after
  8   facing encampments, a student who threatened to “shoot up” a kosher dining hall, and
  9   a professor who said he was “exhilarated” by the October 7 attack.29
 10         Critically, experience at other universities shows that this kind of exclusion and
 11   harassment was not inevitable: Other administrations were clearer about the importance
 12   of obeying basic time, place, and manner rules, and those different policies produced
 13   markedly better results. For example, the University of Texas at Austin dismantled an
 14   encampment on the day it was formed.30 Administrators released a clear statement
 15   indicating that free speech events had and would be allowed, but violations of
 16
      25
 17      Celina Tebor, 3 Jewish students sue New York University Over Antisemitism
      Response, CNN (Nov. 15, 2023), https://www.cnn.com/2023/11/15/us/jewish-
 18   students-sue-new-york-university/index.html; see also NYU Settles Lawsuit Filed by 3
 19   Jewish Students Who Complained of Pervasive Antisemitism, AP NEWS (July 9, 2024),
      https://apnews.com/article/nyu-israel-gaza-protests-university-settlement-
 20   d01dfeb589ad95f3007e1fb63d86845a.
      26
 21      Id.
      27
         See Ulfelder, supra note 10.
 22   28
         Larry Diamond et al., “It’s in the Air”: Antisemitism and Anti-Israeli Bias at
 23   Stanford, and How to Address It, STANFORD (May 31, 2024),
 24   https://news.stanford.edu/__data/assets/pdf_file/0033/156588/ASAIB-final-report.pdf.
      29
         Cornell University President Quits Amid Campus Antisemitism, Gaza Protests,
 25   TIMES OF ISRAEL, https://www.timesofisrael.com/cornell-university-president-quits-
 26   amid-campus-antisemitism-gaza-protests/.
      30
         S.E. Jenkins, Protest Encampment Forcibly Dismantled, Arrests Made at UT
 27
      Austin, CBS NEWS (Apr. 30, 2024),
 28   https://www.cbsnews.com/texas/news/encampments-forcibly-dismantled-arrests-
      made-at-ut-austin/.
                                                  8
      AMICUS BRIEF OF AGUDATH ISRAEL AND THE ORTHODOX UNION - Case No. 2:24-cv-04702-MCS-PD
Case 2:24-cv-04702-MCS-PD Document 76 Filed 07/29/24 Page 15 of 17 Page ID #:1195



  1   institutional rules and threats to student safety would not.31 Likewise, the University of
  2   Arizona acted immediately to break up encampments—twice.32 Administrators directed
  3   local law enforcement “to immediately enforce campus use policies and all
  4   corresponding laws without further warning.”33 At these universities, encampments and
  5   the accompanying antisemitism, neither persisted nor returned.
  6         This broader context reinforces the public interest in an injunction in this case.
  7   Encampments have repeatedly denied Jewish students of equal access to university life
  8   and gone hand-in-hand with harassment and threats. And real-world experience shows
  9   that compelling UCLA to abandon its passive approach would help to remedy the harm
 10   and restore equality: Schools that were more proactive in enforcing time, place, and
 11   manner restrictions were more successful in allowing speech without countenancing
 12   segregation or exclusion.
 13         C.     Orthodox Jewish Students Are Particularly Likely To Be Targeted
 14         The exclusion, harassment, and threats against Jewish students at UCLA and
 15   other campuses is particularly problematic for Orthodox Jews for two reasons: (1)
 16   Orthodox Jews are visibly Jewish and so more likely to be targeted; and (2) the ability
 17   of Orthodox Jews to practice their faith is impeded by policies that increase the risk of
 18   harassment and exclusion. Indeed, each Plaintiff in this case alleges that they are visibly
 19   Jewish. Compl. ¶¶ 7, 10, 21. Frankel, for example, is Orthodox, and always wears a
 20   kippah. Frankel Decl. ¶¶ 5, 15.
 21         Many of the antisemitic incidents reported on college campuses in the wake of
 22   October 7 involve visibly Jewish students. For example, in a lawsuit filed against the
 23   University of Pennsylvania, one Jewish student, “while walking on campus wearing
 24   31
         University of Texas at Austin Statement Regarding Today’s Protest Events, UT
 25   NEWS (Apr. 29, 2024), https://news.utexas.edu/2024/04/29/university-of-texas-at-
 26   austin-statement-regarding-todays-protest-events/.
      32
         Hannah Cree, Law Enforcement Storms Encampment on University of Arizona
 27   Campus, AZPM (May 1, 2024), https://news.azpm.org/p/azpmnews/2024/5/1/220108-
 28   law-enforcement-storms-encampment-on-university-of-arizona-campus/.
      33
         Id.
                                                  9
      AMICUS BRIEF OF AGUDATH ISRAEL AND THE ORTHODOX UNION - Case No. 2:24-cv-04702-MCS-PD
Case 2:24-cv-04702-MCS-PD Document 76 Filed 07/29/24 Page 16 of 17 Page ID #:1196



  1   garb that identified her as Jewish,” recalled protestors yelling at her to “keep walking
  2   you dirty little Jew.”34 An Orthodox student at Yale wearing a black hat and “very
  3   identifiably Jewish” reported being “harassed, pushed and shoved” as she crossed
  4   campus near an encampment; she reported she was hit in the eye by a Palestinian flag
  5   and ended up in the hospital.35
  6         This is not just a matter of safety, but a matter of faith. Encampments put
  7   Orthodox Students into the untenable position of choosing between violating their
  8   beliefs, or being subject to discrimination and harassment, because Orthodox dress is
  9   grounded in religious exercise. For example, the authoritative Orthodox Jewish Code
 10   of Law, the Shulchan Aruch, states that “a man should not walk four Amos [cubits] with
 11   an uncovered head.” Thus, the most visible sign of an Orthodox Jewish male is a
 12   yarmulke or kippah. Cf. Kennedy v. Bremerton Sch. Dist., 597 U.S. 507, 540 (2022)
 13   (explaining that public schools cannot prohibit a student for “wearing a yarmulke to
 14   school”). Many Orthodox Jewish men also wear Tzitzit, a garment with strings on each
 15   corner.36 That practice is grounded in Deuteronomy 22:12, which states: “You shall
 16   make yourself tassels on the four corners of the garment with which you cover
 17   yourself.”
 18         Yet, a report from Hillel International found that, following October 7, more than
 19   one third of Jewish students felt the need to hide their Jewish identity. 37 Testifying
 20   34
         Jamiel Lynch & Carolyn Sung, Two Students Claim the University of Pennsylvania
 21   Has Violated the Civil Rights Act by not Protecting Jewish Students from Antisemitism
      on Campus, CNN (Dec. 8, 2023), https://www.cnn.com/2023/12/08/business/students-
 22
      claim-university-of-pennsylvania-civil-rights-antisemitism-on-campus/index.html.
 23   35
         Bret Stephens, To Be (Visibly) Jewish in the Ivy League, N.Y. TIMES (Apr. 23,
 24   2024), https://www.nytimes.com/2024/04/23/opinion/university-jewish-antisemitism-
      ivy.html.
 25   36
         Tzitzit, Merriam-Webster, www.merriam-webster.com/dictionary/tzitzit (last visited
 26   July 22, 2024).
      37
         More Than One-Third of Jewish College Students Are Forced to Hide Their Jewish
 27
      Identity, New Hillel Poll Finds, HILLEL INTERNATIONAL (Nov. 20, 2023),
 28   https://www.hillel.org/more-than-one-third-of-jewish-college-students-are-hiding-
      their-jewish-identity-on-campus-new-hillel-international-poll-finds/.
                                                 10
      AMICUS BRIEF OF AGUDATH ISRAEL AND THE ORTHODOX UNION - Case No. 2:24-cv-04702-MCS-PD
Case 2:24-cv-04702-MCS-PD Document 76 Filed 07/29/24 Page 17 of 17 Page ID #:1197



  1   before Congress, Talia Khan, the President of the MIT Israel Alliance stated that 70%
  2   of MIT’s Jewish students feel compelled to hide their identity, and she herself had
  3   stopped wearing her Star of David necklace in public after October 7.38 Orthodox Jewish
  4   students are thus particularly likely to be targeted for harassment, abuse, and exclusion
  5   when a campus is taken over by an encampment, are impeded in their ability to practice
  6   their faith. The strong public interest in protecting religious worship by members of all
  7   faiths, including minority faiths, thus further supports an injunction here.
  8                                       CONCLUSION
  9         For the foregoing reasons, the Court should grant plaintiffs’ motion for a
 10   preliminary injunction.
 11

 12   DATED: July 29, 2024                             By:__/s/ Edward R. Reines_________
                                                       Edward R. Reines
 13                                                    WEIL, GOTSHAL & MANGES LLP
                                                       Attorney for Amici Curiae
 14                                                    AGUDATH ISRAEL OF AMERICA
                                                       and the UNION OF ORTHODOX
 15                                                    JEWISH CONGREGATIONS OF
                                                       AMERICA
 16
 17

 18

 19

 20

 21

 22

 23

 24

 25

 26
 27   38
        Talia Khan’s Congressional Testimony,
 28   https://www.congress.gov/118/meeting/house/116625/documents/HHRG-118-ED00-
      20231205-SD003.pdf.
                                                  11
      AMICUS BRIEF OF AGUDATH ISRAEL AND THE ORTHODOX UNION - Case No. 2:24-cv-04702-MCS-PD
